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UNITED STATES DISTRICT COURT                                        SOUTHERN DISTRICT OF TEXAS


                   Motion and Order for Admission Pro Hac Vice

      Division          McAllen                              Case Number             7:20-cv-00333
                               Juan Carlos Ibarra and Ana Cristina Ibarra


                                                    versus
                                    The Sherwin-Williams Company



           Lawyer’s Name                  Savannah M. Fox
                Firm                      Tucker Ellis LLP
                Street                    950 Main Ave., Suite 1100
          City & Zip Code
                                          Cleveland, Ohio 44113
         Telephone & Email
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       Federal Bar & Number               Ohio State Bar No. 0097716


 Name of party applicant seeks to                        The Sherwin-Williams Company
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:       1/15/2021         Signed:



 The state bar reports that the applicant’s status is:


 Dated:                         Clerk’s signature



               Order
                                                    This lawyer is admitted pro hac vice.

Dated:
                                                             United States District Judge
